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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION


GEOFFREY BLAIR HAJIM,

                      Plaintiff,

            v.                                   Case No. 19 C 6852

ENDEMOL SHINE UK, and HOUSE                  Judge Harry D. Leinenweber
OF TOMORROW LIMITED,

                     Defendants.



                                   ORDER
     Defendant Endemol Shine UK brings a Motion to Dismiss under
Federal Rule of Civil Procedure 12(b)(2), and both Defendants bring
a Motion to Dismiss under Federal Rule of Civil Procedure 12(b)(6).
(Dkt. No. 46.) The Court dismisses Defendant Endemol Shine UK for
lack of jurisdiction and dismisses the remainder of the suit with
prejudice for failure to state a claim. Civil case closed.

                               STATEMENT
     Plaintiff Geoffrey Hajim (“Hajim”) alleges that the creators
and producers of the television show “Black Mirror” committed
copyright   infringement      during    Season    5,   Episode    3,   entitled
“Rachel, Jack and Ashley Too” (“the Episode”). (Am. Compl. ¶ 1,
Dkt. No. 33.) Hajim alleges that the Episode closely imitated his
film and copyrighted created work, Strange Frame: Love & Sax. (Id.)
Defendant Endemol Shine UK is a production and media company
located in London, UK. (Id. ¶ 3.) House of Tomorrow is a division-
turned-subsidiary of Endemol Shine UK, also located in London.
(Id. ¶¶ 5.)
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     Strange Frame: Love & Sax is marketed as the “first lesbian
science fiction rock ‘n roll animated musical.” Strange Frame,
https://www.wolfevideo.com/products/strange-frame               (last     visited
June 9, 2021). The plot begins on one of Jupiter’s moons in the
28th century, when a saxophonist named Parker meets a newly freed
debt slave named Naia on the streets; the two become lovers and
start a band. STRANGE FRAME: LOVE & SAX (Island Planet One Productions,
LLC 2012). The band is courted by a “star-maker” manager who
determines that Parker is expendable. Id. The manager plies the
lovers with alcohol and then throws Parker on the street, using
bodyguards to prevent contact with her former band and particularly
her girlfriend Naia. Id. Later, while attending one of Naia’s
concerts, Parker realizes that her girlfriend has been replaced by
an android. Id. Parker thus devises a plan to kidnap the android.
Id. The plan is successful, and information from the android leads
her to Naia, whom she eventually rescues. Id. Broadly speaking,
the film centers around bodily autonomy, exploring what it means
to have a physical body and the way that “humans,” however defined,
can survive others’ authority and control.            Id.
     Black Mirror is marketed as a “sci-fi anthology series [that]
explores   a   twisted,     high-tech     near-future       where     humanity’s
greatest innovations and darkest instincts collide.” Black Mirror,
https://www.netflix.com/title/70264888           (last      visited     June   10,
2021). Each episode features new characters, plots, and locations.
Id. In the Episode in question, “Rachel, Jack and Ashley Too,” the
pop star Ashely O. has an outsized effect on Rachel, a lonely
teenager living with her older sister and widowed father. Black
Mirror (Netflix, Inc. June 5, 2019). Rachel receives a mini robotic
doll named Ashely Too as a birthday present, and it quickly becomes
her new virtual best friend. Id. Meanwhile, Ashley O. has started
writing edgier and sadder music, which is a departure from the


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lighthearted songs that made her a pop icon. Id. In response, her
aunt, who is also her manager, tricks Ashley O. into overdosing on
her medication and keeps the singer in an unconscious state in
order to extract newly composed music from Ashley O.’s brain. When
the Ashley Too doll overhears a news briefing of Ashley O.’s
extended coma, the robotic doll malfunctions. Id. While attempting
to revive the doll, Rachel and her sister inadvertently “unlimit”
Ashley Too, which allowed the doll to access Ashley O.’s fully
cloned brain. Id. The Ashley Too doll convinces the girls to go to
Ashley O.’s residence, where Ashley Too revives Ashley O. from the
coma. Id. The girls, the singer, and the robot doll race together
across town where Ashley O.’s aunt is trying to convince an
audience that she should have full rights to Ashley O.’s likeness
for concerts. Id. As part of her demonstration, the aunt debuts a
lifelike projection of Ashley O. on stage, complete with the vocals
previously recorded to make the “Ashley Too” dolls. Id. Ashley O.
and her new friends crash into the demonstration, putting an end
to the scheme. Id.     The Episode ends as Rachel’s sister and Ashley
O. debut as a punk rock band. Id. To the extent there is a coherent
theme, the Episode focuses on how popularity and “believe in
yourself” confidence is perceived as a form of power and then
explores whether this is true for the various characters inhabiting
the Episode’s world. Id.
     Plaintiff    Hajim    alleges    that   he   went   to   “a   very   small,
intimate film school with an individual who subsequently went on
to work with a Black Mirror producer in 2017.” (Am. Compl. ¶ 28.)
Hajim also alleges that the film Strange Frame was made widely
available after 2012, which gave ample opportunity for copying the
work. Specifically, Hajim alleges many “striking similarities”
between plot points in the two films, including that (1) both pop
stars have been drugged by their managers in order to substitute


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a controllable version of themselves for the manager’s financial
gain; (2) both have lyrics that contain the words “no, you can’t”
with the lyrics from Strange Frame rhyming with the lyrics from
the Episode; (3) both pop stars have bobbed, brightly-colored hair
and other outfit similarities; (4) both feature news broadcasts as
plot points; (5) both have police chases through the city; and (6)
both pop stars require being unplugged from a machine in order to
wake up from their respective comas. (Am. Compl. ¶ 31.) The Amended
Complaint     additionally      alleges      other   visual    similarities          in
specific frames of the film, like the shape of the concert venue,
the lighting of the stage, and the eye shape of the Episode’s
robotic doll with merchandise in Strange Frame. (Id.)
      In response to these allegations, Defendants Endemol Shine UK
and House of Tomorrow Limited filed a motion to dismiss under
Rule 12(b)(6) for failure to state a claim and, as to Endemol Shine
UK,   under    Rule    12(b)(2)     for    lack    of   jurisdiction.        Because
jurisdiction is foundational to any further proceedings, the Court
first   reviews     the   claims    for    jurisdiction     and      then    makes    a
determination on the merits.
      While an initial complaint does not need to include facts
regarding personal jurisdiction, “once the defendant moves to
dismiss       the     complaint      under        Federal     Rule      of     Civil
Procedure 12(b)(2)        for     lack    of     personal   jurisdiction,        the
plaintiff bears the burden of demonstrating the existence of
jurisdiction.” Purdue Rsch. Found. v. Sanofi-Synthelabo, S.A., 338
F.3d 773, 782 (7th Cir. 2003). If the Court decides on the written
record, the plaintiff “need only make out a prima facie case of
personal jurisdiction.” Id. (quoting Hyatt Int’l Corp. v. Coco,
302 F.3d 707, 713 (7th Cir. 2002). If there are disputes concerning
relevant facts presented in the record, the disputes are resolved




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in favor of the party asserting jurisdiction. Nelson by Carson v.
Park Indus., Inc., 717 F.2d 1120, 1123 (7th Cir. 1983).
     Jurisdiction is based on a courts’ “de facto power over the
defendant’s person.” Int’l Shoe Co. v. Washington, 326 U.S. 310,
316 (1945). As a result, a defendant’s presence is a prerequisite
to a binding judgment. Id. To satisfy this requirement, plaintiffs
may assert either specific or general jurisdiction. Here, Hajim
asserts only specific jurisdiction over Defendants, and the Court
likewise restrains its analysis.
     The     Court   retains    specific     jurisdiction    where    “(1)   the
defendant has purposefully directed his activities at the forum
state   or    purposefully      availed    himself   of   the   privilege        of
conducting business in that state, and (2) the alleged injury
arises out of the defendant’s forum-related activities.” Tamburo
v. Dworkin, 601 F.3d 693, 702 (7th Cir. 2010). Crucially, the
directed activities must be related to the suit and independent of
the plaintiff, the “mere fact that [the defendant’s] conduct
affected plaintiffs with connections to the forum State does not
suffice to authorize jurisdiction.” Walden v. Fiore, 571 U.S. 277,
291 (2014).
     In his Amended Complaint, Hajim alleges three theories on how
jurisdiction over Endemol Shine UK is appropriate in this suit.
First, Hajim alleges that Endemol Shine UK created the episode “to
be aired solely and exclusively on Netflix, a US-based streaming
platform,” via a contract with Netflix, and that, as a result,
Endemol Shine UK intended the Episode to be streamed throughout
the United States, including Illinois. (Am. Compl. ¶¶ 7,8, 12–14.)
Second, Hajim points to contracts with the Screen Actors Guild and
other   American     “casting    directors,    agents,    and   managers”    who
participated in the creation of this Episode and who may have a
connection to Illinois. (Id. ¶¶ 9–10.) Finally, Hajim alleges that


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either Endemol Shine UK or House of Tomorrow employees, working on
Endemol Shine UK’s behalf, “traveled to the United States to
participate in activities related to the creation and production
of” the Episode. (Id. ¶ 11.)
     In response, Defendants provided a declaration, swearing,
among other things, that the Episode was filmed in South Africa,
produced in the United Kingdom, and only performed “some dialogue
replacement with Miley Cyrus and other cast members during post
production in California and New York.” (Hicks Decl. ¶ 5, Mem.,
Ex. A, Dkt. No. 48.) Hajim does not dispute these facts in the
declaration. Because there is no evidence that there were actors,
directors, or screenwriters connected to Illinois in any manner,
the Court considers only Hajim’s first basis for suit. Hajim
alleges that the Court has personal jurisdiction over Endemol Shine
UK through its subsidiary House of Tomorrow because House of
Tomorrow    contracted     with    Netflix,     a    company    headquartered    in
California, to air Black Mirror episodes on demand. As a result,
the Black Mirror episode in question was played in Illinois by
interested Netflix subscribers.
     Based on these alleged facts, there is no basis for personal
jurisdiction.       In   order    to    show    personal       jurisdiction,    the
plaintiff    must    allege      some   sort    of   “prior     negotiations    and
contemplated future consequences, along with the terms of the
contract and the parties’ actual course of dealing.” RAR, Inc. v.
Turner Diesel, Ltd., 107 F.3d 1272, 1277 (7th Cir. 1997). Because
Hajim alleges that all contact with Illinois happened through
Netflix, he has not alleged that Endemol Shine UK “intentionally
aimed” conduct at the forum district. Colo’n v. Akil, 449 F. App’x
511, 514 (7th Cir. 2011) (affirming that there was no specific
jurisdiction over TV producers and writers of The Game as it was
broadcast   by   a   third-party        television    network).     Consequently,


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there is no evidence that “the defendant’s conduct and connection
with the forum State are such that he should reasonably anticipate
being haled into court there.” Burger King Corp. v. Rudzewicz, 471
U.S. 462, 474 (1985); see also Publications Int’l, Ltd. v. Simon
& Schuster, Inc., 763 F.Supp. 309, 312 (N.D. Ill. 1991) (holding
that a production company that sold its show to ABC, who then
broadcasted the show in Illinois, is a connection “too attenuated
to support personal jurisdiction”). For this reason, Endemol Shine
UK is dismissed for want of jurisdiction.
     Defendant House of Tomorrow Limited did not challenge the
suit on the basis of personal jurisdiction. Instead, House of
Tomorrow moved to dismiss under Rule 12(b)(6) for failure to state
a claim upon which relief can be granted. Endemol Shine UK also
joined   this    Motion    in   the     alternative      to    their   personal
jurisdiction Motion. Defendants’ 12(b)(6) motion should be granted
if the complaint fails to state a claim for relief that is
“plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544,
570 (2007). A claim is plausible if the plaintiff pleads “factual
content that allows the court to draw the reasonable inference
that the defendant is liable for the misconduct alleged.” Ashcroft
v. Iqbal, 556 U.S. 662 (2009). The district court construes all
allegations as true and draws all reasonable inferences in the
plaintiffs’     favor   but   does    not     accept   legal   conclusions       or
conclusory allegations. Id. at 680–82.
     A motion to dismiss under Rule 12(b)(6) can be based “only on
the complaint itself, documents attached the complaint, documents
that are critical to the complaint and referred to in it, and the
information that is subject to proper judicial notice.” Geinosky
v. City of Chicago, 675 F.3d 743, 745 n.1 (7th Cir. 2012)(citing
FED. R. CIV. P. 10(c)). When, as here, the claim references the
disputed works in detail, the Court is within its discretion to


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review the films on a motion to dismiss. See Brownmark Films, LLC
v. Comedy Partners, 682 F.3d 687, 690 (7th Cir. 2012)(“Because the
claim was limited to the production and distribution of a single
episode, the district court was correct to rely solely on the two
expressive works referenced in Brownmark’s amended complaint.”).
       In order to state a claim for copyright infringement, a party
must prove “(1) ownership of a valid copyright, and (2) copying of
constituent elements of the work that are original.” JCW Invs.,
Inc. v. Novelty, Inc., 482 F.3d 910, 914 (7th Cir. 2007) (quoting
Feist Publications, Inc. v. Rural Telephone Service Co., Inc., 499
U.S.   340,   361   (1991).    Defendants         do    not   dispute   that       Hajim
registered    his   screenplay       and   motion       picture   with       the   U.S.
Copyright Office in 2004 and 2012. (Am. Compl. ¶ 19, Dkt. No. 33.)
Therefore, the Court focuses on the second element of the claim,
and reviews whether House of Tomorrow copied the protected work.
       Copying may be proved either by direct evidence or inferred
“where the defendant had access to the copyrighted work and the
accused work is substantially similar to the copyrighted work.”
JCW Invs., Inc. v. Novelty, Inc., 482 F.3d 910, 915 (7th Cir. 2007)
(quoting Susan Wakeen Doll Co., Inc. v. Ashton Drake Galleries,
272 F.3d 441, 450 (7th Cir.2001). Even access is not essential,
however, if the “two works are so similar as to make it highly
probable that the later one is a copy of the earlier one.” Id.
(quoting Ty, Inc. v. GMA Accessories, Inc., 132 F.3d 1167, 1170
(7th   Cir.1997).    “The     more   a     work    is    both   like    an    already
copyrighted work and — for this is equally important — unlike
anything that is in the public domain, the less likely it is to be
an independent creation.” Id. (quoting Ty, Inc., 132 F.3d at 1169.)


        Hajim’s long list of comparisons do not create a plausible
claim of substantial similarity. There are “two well-established


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principles of copyright law” which prevent his ability to state a
claim. Hobbs v. John, 722 F.3d 1089, 1094 (7th Cir. 2013), holding
modified by Muhammad-Ali v. Final Call, Inc., 832 F.3d 755 (7th
Cir. 2016). First, “the Copyright Act does not protect general
ideas, but only the particular expression of an idea.” Id. Second,
the Copyright Act does not protect “incidents, characters or
settings which are as a practical matter, indispensable, or at
least standard, in the treatment of a given topic.” Id. at 1095.
(quoting Incredible Techs., Inc. v. Virtual Techs., Inc., 400 F.3d
1007, 1012 (7th Cir. 2005)). In Hobbs v. John, the Seventh Circuit
affirmed the district court’s dismissal for failure to state a
claim on a copyright infringement case where there were two songs
which told the story of “an impossible romance between ‘a Western
man and a Communist woman’ separated by the Cold War.” Id. As noted
by the Seventh Circuit, the Cold War was “a widespread concern at
the time the songs were authored.” Id. Although the songs had the
same general idea, the Seventh Circuit held that that each song
“expresses the general idea differently” because the songs “tell
different stories about possible romances during the Cold War.”
Id.
        Similarly, here the Episode and Strange Frame fundamentally
tell different stories. The Court notes that the idea of robotic
or holographic pop stars is a common theme in Science Fiction
literature. See, e.g., William Gibson, Idoru (Berkeley 1997)(A
novel    containing   a   character    named    Rei   Toei,    an   Artificial
Intelligence (“AI”) construct and digital pop star). Although the
Episode and Hajim’s movie may have started from this general idea,
the plot commonalities pointed to by Hajim recount different
aspects of the human condition. At heart, Strange Frame is a story
about humanity enduring through the harsh conditions of the 28th




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century, and the Episode follows the personal growth of lonely
teenagers set in the near future.
        Moreover, many of the claims present in the Amended Complaint
are simply false. For example, the Amended Complaint alleges
“[b]oth Ashley (the pop-star character from the Episode) and Naia
(the pop-star character from Strange Frame) are edgy creative
singers and guitarists whose managers replace them with AI versions
of themselves, so they will produce music and perform as puppets
of the Svengali-type manager.” (Am. Compl. ¶ 31.A.) This is a clear
mischaracterization of the Episode’s plot. Ashley is not an edgy
singer at the beginning of the story; she’s a pop star with
pointedly     bland      lyrics.    Ashley’s       desire    to   express    herself
differently is what leads to the dramatic tension in the narrative
through her aunt manager’s responsive desire to control her. As
the Amended Complaint correctly states, however, Strange Frame’s
Naia is an edgy singer, and it is her nascent notoriety that
propels the plotline as a “star-maker” manager seeks to take
advantage of her fame. And while it is true that Naia is replaced
by an AI version of herself in Strange Frame, the AI character in
the Episode does not replace Ashley O. Instead, the AI robot is
sold as merchandise to lonely teenage girls. While Ashley O. is
replaced    by    a    hologram    during    her    aunt’s    demonstration,     the
hologram is animated by a real person backstage covered in sensors.
And, as pointed out by House of Tomorrow in its briefing, the
lyrics to the allegedly copied song as described in the Amended
Complaint was a cover of a song written by Nine Inch Nails prior
to either work. HEAD        LIKE   A HOLE, NINE INCH NAILS (TVT Records 1990)
available at https://genius.com/Nine-inch-nails-head-like-a-hole-
lyrics. To the extent that both works use certain tropes — pop
stars     being       medicated    and    replaced,     police     chases,    burly
bodyguards,       similar    scenes      regarding    the    stadium   and    stage


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lighting — these ideas are so general as to prevent protection.
“[S]tandard elements known as scènes à faire that are unprotected
under copyright law.” Tillman v. New Line Cinema Corp., 295 F.
App’x 840, 843 (7th Cir. 2008).              For these reasons, Hajim has
failed to state a claim against Endemol Shine UK and House of Shine
Limited.
     Because the Court lacks jurisdiction over Endemol Shrine UK,
and because Hajim fails to state claim upon relief can be granted,
the Court dismisses this action with prejudice.




                                           Harry D. Leinenweber, Judge
                                           United States District Court


Dated: 6/22/2021




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